             Case 8:19-bk-03732-MGW          Doc 12       Filed 06/10/19   Page 1 of 1


                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
In re

Betzaida A Lugo
aka Betzaida Amaralys Lugo-Serrano
aka Betzaida Sanchez
                                                  CHAPTER        7
                                                  CASE NO.       8:19-bk-03732-MGW
      Debtor(s)
______________________________/

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the following:

        Order Granting Motion For Relief From Stay On A Prospective Basis Pursuant To 11

U.S.C. Section 362 (d)(4) which is DE# 11 in this case was served as follows:

        1.     By email transmission via CM/ECF on the same date as reflected on the Court's

docket as the electronic filing date for the document to:

        Laura M. Gallo 7211 N. Dale Mabry Hwy, Suite 228 Tampa, FL 33614

        Traci K. Stevenson, Trustee P.O. Box 86690 Madeira Beach, FL 33738

        AND

        2.     By first class mail on June 10, 2019 to:

        Betzaida A Lugo 15416 Florida Breeze Loop Wimauma, FL 33598

        Arturo Sandoval-Aguilar 15416 Florida Breeze Loop Wimauma, FL 33598

                                                      /s/ Nicole Mariani Noel
                                                      Nicole Mariani Noel
                                                      Kass Shuler, P.A.
                                                      P.O. Box 800
                                                      Tampa, FL 33601
                                                      Phone: (813) 229-0900 Ext. 1343
                                                      Fax: (813) 229-3323
                                                      nmnoel@kasslaw.com
                                                      Florida Bar No. 69883
1455417E/jaw
